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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________

UNITED STATES OF AMERICA,

                         Plaintiff,
                                                               Civil Action No. 1:20-cv-02227-RC
             v.

FIFTY-THREE VIRTUAL CURRENCY
ACCOUNTS, et al.,

                  Defendants.
____________________________________

                 THE WEINSTOCK CLAIMANTS’ SECOND CONSENT MOTION
                            FOR AN EXTENSION OF TIME

       Claimants Sharon Weinstock, Moshe Weinstock, Geula Weinstock, Aryeh Weinstock, and

Chaim Mishael Weinstock, and the Estates of Yitzchak Weinstock, Dov Weinstock, Simon Dolgin

and Shirley Dolgin (“Weinstocks”) hereby respectfully move, with the consent of the Government

and Claimant Husamettin Karatas:

            a)    To extend until June 23, 2025, their time to oppose the Government’s and Mr.

Karatas’ Motions to Strike (DE 85, 87), and to file a Reply in further support of their Motion for

Summary Judgment; and

            b)    To extend until July 9, 2025, the Government’s and Mr. Karatas’ time to file replies

in further support of their Motions to Strike.

       In support of this motion the Weinstocks respectfully state as follows:

       1)         Pursuant to the Court’s order of April 15, 2025, the Weinstocks’ Opposition to the

Government’s and Mr. Karatas’ Motions to Strike (DE 85, 87) and Reply in further support of

their Motion for Summary Judgment, were originally due on June 13, 2025.



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       2)      On June 12, 2025, the Weinstocks moved for a one-week extension of time to file

their papers (D.E. 89). On June 13, 2025, the Court entered a minute order granting the

Weinstocks’ motion.

       3)      As discussed in the Weinstocks’ previous motion, during the past two weeks, the

Weinstocks’ undersigned counsel has been constrained to deal with a number of unexpected and

unavoidable professional and personal matters, which were very time-consuming.

       4)      As a result, counsel requires and respectfully requests one additional business day,

i.e. until Monday, June 23, 2025, to complete the Weinstocks’ opposition and reply papers.

       5)      The Court’s order of June 13, 2025, order also provided that the Government’s and

Mr. Karatas’ replies in further support of their Motions to Strike are due on July 7, 2025. Since the

Weinstocks are requesting a slight enlargement of their time, the Government and Mr. Karatas

should be granted a similar extension. Accordingly, (and as requested by Mr. Karatas), the

Government and Mr. Karatas should be granted an extension until July 9, 2025.

       6)      Counsel for the Government and for Mr. Karatas have informed the undersigned

that they consent to this motion.

       WHEREFORE, the instant motion should be granted.


Dated: June 20, 2025                          Respectfully submitted,

                                              By: /s/ Asher Perlin
                                              Asher Perlin
                                              LAW OFFICE OF ASHER PERLIN
                                              Bar I.D. FL0006
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                                              Hollywood, Florida 33021
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                                              Counsel for the Weinstock Claimants



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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed on June 20,

2025, on the Court’s CM/ECF system which will send a notice of electronic filing to counsel of

record for all parties.

                                           By: _/s/ Asher Perlin
                                           Asher Perlin
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                                           Counsel for the Weinstock Claimants




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